        Case 2:17-cv-02477-APG-NJK Document 8 Filed 12/18/17 Page 1 of 1
                                   UNITED STATES DISTRICT COURT
                                        DISTRICT OF NEVADA
Kirby Spencer                                          )
                                                       )
                                     Plaintiff(s),     )
                                                       )
v.                                                     )    Case No.:2:17-cv-2477-APG-NJK
                                                       )
Praxis Financial Solutions, Inc.                       )                                        DEFAULT
                                                       )
                                     Defendant(s).     )
                                                       )


        It appearing from the records in the above-entitled action that Summons issued on
the          Original       Complaint                     September 22, 2017
        (Original, Amended, etc)                                   (Date Complaint was filed)




has been regularly served upon each of the Defendants hereinafter named; and it

appearing from the affidavit of counsel or Plaintiff and the records herein that each of

said Defendants has failed to plead or otherwise defend in said action as required by said

Summons and provided by the Federal Rules of Civil Procedure,

        Now, therefore, on request of counsel for Plaintiff, the DEFAULT, as aforesaid, of

each of the following Defendants              Praxis Financial Solutions, Inc.




in the above-entitled action is hereby entered.

DATED:                                                             DEBRA
                                                            December       K. KEMPI, CLERK
                                                                     18, 2017


                                                                   By:
                                                                                    Deputy Clerk
